                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:14-cv-3092-RBJ

  MARY MAYOTTE,

            Plaintiff,

  v.

  U.S. BANK, N.A., AS TRUSTEE FOR STRUCTERED ASSET INVESTMENT LOAN
  TRUST MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2006-4;

       AND

 WELLS FARGO BANK, N.A.,

            Defendants.


 PLAINTIFF MAYOTTE’S MOTION FOR EXTENSION OF TIME TO RESPOND TO
                  LETTER FROM CLERK OF COURT


       COMES NOW Plaintiff Mary Mayotte, by and through her counsel, Cain and Skarnulis

PLLC, and files this Motion for Extension of Time to Respond to Letter from Clerk of Court,

stating in support thereof as follows:

                                         CONFERRAL

       Undersigned counsel reached out to counsel for Defendant via email in regards to the relief

requested herein. As of this filing, undersigned counsel has not received a response.

                                            MOTION

       1.        On November 8, 2021, the Court issued a Letter from Clerk of Court in the above

captioned case, alerting the parties that Judge R. Brooke Jackson had an undisclosed conflict of

interest while presiding over this case that recently came to his attention. The Court invited a

response to this disclosure by November 30, 2021.
        2.      Undersigned counsel had not anticipated this communication and has been heavily

occupied with other matters, including other complex litigation involving numerous defendants.

In addition, Plaintiff Mayotte has recently moved out of state, and in conjunction with the

Thanksgiving holiday, was not prepared to assess the implications of this new communication or

her options moving forward.

        3.      As a result of the foregoing, Plaintiff Mayotte respectfully requests a 35-day

extension to respond to the November 8, 2021 Letter from Clerk of Court, up to and including

January 4, 2022. No party will be prejudiced by the relief requested, and the extension is not

sought for any improper purpose.

                                           CONCLUSION

        For all of the reasons stated herein, Plaintiff respectfully requests that the Court grant her

a 35-day extension to respond to the November 8, 2021 Letter from Clerk of Court, up to and

including January 4, 2022.

        Respectfully submitted this 30th day of November 2021.

                                                         /s/ Brad Kloewer
                                                         Brad Kloewer #50565
                                                         Cain & Skarnulis PLLC
                                                         bkloewer@cstrial.com
                                                         303-910-2734

                                   CERTIFICATE OF SERVICE

        I hereby certify that on November 30, 2021, a true and accurate copy of this document was

filed electronically, to be distributed to all parties of record.

                                                         /s/ Brad Kloewer
